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           IN THE UNITED ST ATES DISTRICT COURT
              EASTERN DISTRICT OF ARKANSAS
                      DELTA DIVISION

ERNEST W. L. THOMPSON                                         PLAINTIFF

v.                       No. 2:18-cv-49-DPM

IVORY T. McDANIEL, Sergeant,
Brickey Unit, ADC; S. CHAPMAN,
Sergeant, Brickey Unit, ADC;
and JERMY SYKES, Sergeant,
Brickey Unit, ADC                                        DEFENDANTS

                                ORDER
     Thompson's motion for jury trial, Doc. 59, is denied. As the Court
has previously explained, this case is closed.     Doc. 58.   Thompson
should not file any more papers in it.
     So Ordered.


                                 D.P. Marshall f r.
                                 United States District Judge
